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                 Exhibit B
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  Executive Summary
  IDS Group, Inc. (IDS) has completed the Tier 1 seismic screening portion of the seismic evaluation
  study for the Fairview Development Center Acute Infirm Wards D, E, and F buildings in Costa Mesa,
  California. The ASCE 41-17 Standard has been used for this project. These building are classified as
  Risk Category II. Level of Seismicity is “High”. The performance objective selected as per the standard
  is the Basic Performance Objective for Existing Buildings (BPOE).

  Review of existing documents has been done for the original structural and architectural drawings of
  the buildings. The site walk-through of the building was conducted on December 18, 2019. During the
  walk-through evidence of recent seismic upgrades of the buildings became evident. These upgrades
  included addition of concrete shear walls at the exterior of the buildings in the long (N-S) direction. No
  drawings pertaining to the seismic upgrade were available for review.

  Based on the evidence found showing a recent seismic upgrade, as well as verification by the facilities
  manager regarding the same, we conclude that these buildings are ASCE 41-17 “Benchmark”
  buildings deemed to comply with the ASCE 41 BPOE.




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                                           Structural Assessment

  Building Description
  The Fairview Development Center in Costa Mesa, California is a large healthcare developmental
  complex that includes multiple buildings of various shapes and sizes. Acute Infirm Ward Buildings D,
  E, and F are three identical buildings located in this complex. These buildings are 1-story with no
  basement levels and have a building floor area of approximately 25,000 square feet each. Each
  building is divided into 3 segments separated by 1½” expansion/separation joints. These joints
  separate the wider central section of the ward from its south and north “wings”. They were constructed
  around 1956 according to the available structural drawings of the building. In addition to structural
  drawings, architectural drawings were also available for review. See Figure 1 below for a Google Earth
  image of the site. Based on Table 3-2 of the ASCE standard these building could qualify as a
  “Benchmark Building” of Type PC1a.




  Figure 1: Google Earth Image, Acute Infirm Wards at Fairview Development Center, Costa Mesa, CA

  Vertical Load Carrying System
  The vertical load carrying system for these buildings consists of 6” concrete prestressed lift slab
  supported by concrete precast columns. Columns are all 12” square and spaced 19’ apart in N-S
  direction and between 17’-6” and 24’-6” apart in E-W direction. Columns are supported on concrete
  square spread footings varying in size between 3’-8” and 4’-6”.

  Lateral Load Carrying System
  The lateral load carrying system consists of reinforced concrete roof diaphragm and reinforced
  concrete shear walls. Shear walls are located at the exterior as well as the interior of the building. The
  original walls of the building are typically 9” thick. In addition, concrete shear walls at the exterior of


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  the south and north wings of the buildings were recently added. These walls were measured to be
  approximately 10’ long and 13” thick. Figure 2 is a photograph of one of these added walls. The
  structural drawings of the upgrade that included addition of these walls were not available for review.




              Figure 2: Recently added concrete shear walls at the exterior of the buildings

  Seismic Assessment
  Per ASCE 41-17 a Performance Objective shall consist of one or more pairings of a selected Seismic
  Hazard Level, with a target Structural Performance Level. The Basic Performance Objective for
  Existing Buildings (BPOE) has been selected for this project. The BPOE specifies a performance
  objective that varies with Risk Category, in accordance with Table 2-1 of the referenced document.
  The scope of the assessment required for Tier 1 screening is in accordance with Table 2-2 of the
  referenced document. This building falls into Risk Category II as noted in Tables 2-1 and 2-2. Figure
  3 contains these two tables from ASCE 41-17. The site soil type has been assumed to be Site Class
  D.




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                              Figure 3: Tables 2-1 and 2-2 from ASCE 41-17

  As is apparent from these tables, there is a significant difference between 2017 and 2013 editions of
  ASCE 41 with respect to setting the performance objective: For Tier 1 and Tier 2 evaluation of most
  buildings, while ASCE 41-13 used BSE-1E level seismic forces for checking the building for Life Safety,
  ASCE 41-17 uses BSE-2E level seismic forces for checking the building for Collapse Prevention. BSE-
  2N parameters must be used to determine the level of seismicity per ASCE 41-17. The above approach
  has been adopted by IDS and will be used for the seismic evaluation of these buildings.

  ASCE 41 evaluation involves determining the Performance Level, Seismic Hazard Level, and Level of
  Seismicity for the project. The Performance Level of Collapse Prevention (CP) in response to the BSE-
  2E hazard level has been determined for this project per tables 2-1 and 2-2 of ASCE 41-17 which
  define the Basic Performance Objective for Existing Buildings (BPOE). Considering the latitude and
  longitude of this building (33.663°N, 117.928°W), the SDS and SD1 parameters at the BSE-2N level
  are 0.901 g and 0.586 g respectively. Therefore, the Level of Seismicity is determined to be High per
  table 2-4 of ASCE 41 -17.

  Seismic design parameters for the site were obtained from the USGS seismic design map. For BSE-2E
  earthquake level, the value of spectral response acceleration parameter at a 1-s period for site class
  D (default), Sx1, is 0.668 g. The period of the building is calculated as 0.117 s resulting in a spectral
  acceleration, Sa, value governed by the upper bound Sxs value of 1.079 g. This value is used in
  calculating the pseudo seismic force used in Tier 1 screening of the building

  The summary data sheet of ASCE 41-17 for this building is shown in Figure 4.




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                          Figure 4: ASCE 41-17 summary sheet




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                                   Conclusion and Recommendations
  The apparently recent seismic upgrade of these buildings included the addition of new concrete shear
  walls and therefore these buildings are designated “Benchmark” buildings per ASCE 41-17. While no
  drawings pertaining to the seismic upgrade were available, IDS has based this conclusion upon field
  observed evidence of the recent upgrade, as well as verification (in person, verbal) by the facilities
  manager. Therefore, these buildings are deemed to comply with the basic safety objective (BPOE,
  structural only) of the ASCE 41-17 standard and no structural retrofit is recommended at this point in
  time.




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